           Case 1:17-cr-00232-EGS Document 189 Filed 04/30/20 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA

     v.

     MICHAEL T. FLYNN,                                    Criminal Action No. 17-232-EGS

     Defendant.




                     SECOND SUPPLEMENT TO MOTION TO DISMISS
                     FOR EGREGIOUS GOVERNMENT MISCONDUCT

          On April 29, 2020, the government produced to the defense a second tranche comprised of

eleven pages, including emails and additional Strzok-Page text messages. See Brady v. Maryland,

373 U.S. 83 (1963) and this Court’s standing order, ECF No. 10. The second production bears

Bates labeled as DOJSCO – 700023465 through DOJSCO – 700023475. The government then

produced to Mr. Flynn a redacted version of those documents, agreed as suitable for filing upon

the public docket (“Redacted Production”). These documents further support Mr. Flynn’s Motion

to Dismiss for Egregious Government Misconduct and in the Interest of Justice. ECF No. 162. The

Redacted Production is attached in its entirety as Exhibit 1.



          Dated: April 30, 2020               Respectfully submitted,

 /s/ Jesse R. Binnall                          /s/ Sidney Powell
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      Case 1:17-cr-00232-EGS Document 189 Filed 04/30/20 Page 2 of 3



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                                    2
        Case 1:17-cr-00232-EGS Document 189 Filed 04/30/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on April 30, 2020 a true and genuine copy of this Second Supplement

to Motion to Dismiss for Egregious Government Misconduct and in the Interest of Justice was

served via electronic mail by the Court’s CM/ECF system to all counsel of record, including:

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                                                   Respectfully submitted,

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                                               3
